       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 1 of 38




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
CHELSEY GOSSE, on her own behalf                Case No: 3:20-cv-01446-RDM-MCC
and on behalf of other similarly situated
persons,
                          Plaintiff,
            v.

TRANSWORLD SYSTEMS, INC.;
U.S. BANK, N.A.;
RATCHFORD LAW GROUP, P.C.;                      (JURY DEMAND)
NATIONAL COLLEGIATE
STUDENT LOAN TRUST 2007-3,
                 Defendants.

                PLAINTIFF’S COUNTER-STATEMENT
     OF UNDISPUTED MATERIAL FACTS IN OPPOSITION TO
  DEFENDANTS’ RENEWED MOTION FOR SUMMARY JUDGMENT
    The following undisputed material facts are not addressed by the Defendants’

proposed Statement of Facts but are material to the issues before the Court herein

and are stated in opposition to Defendants’ renewed Summary Judgment Motion

(“the Motion) as a Counterstatement of Undisputed Material Facts (“CSMF”) as

follows:

   A. UNDERLYING COLLECTION ACTION BY THE TRUST AGAINST PLAINTIFF
      GOSSE

      1.     The Trust sued Plaintiff in a Pennsylvania state court proceeding.

Lehigh Cty. Case No. 2019-C-2482. Ex. A

      2.     The Plaintiff (defendant in the state court action) moved to dismiss the

action by preliminary objections asserting that the Trust lacked standing. See Ex. B.

      3.     Plaintiff’s preliminary objections in the state court action were


                                            1
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 2 of 38




granted. Ex. C.

       4.        The Order is final and was not appealed.

   B. THERE IS A MATERIAL ISSUE OF FACT AS TO WHETHER THE DEFENDANT
      TRUST POSSESSES SCHEDULE 1 TO THE POOL SUPPLEMENT LISTING THE
      LOANS ALLEGEDLY TRANSFERRED TO IT OR WHETHER SCHEDULE 1
      DERIVED FROM TERI’S LOAN DATABASE IS NOW LOST

       5.        According to the Amended and Restated Loan Origination Agreement

between The Education Resources Institute, Inc. (“TERI”) and Bank One. TERI

would gather the data concerning loans made in the name of Bank One. See Ex. D

(“Loan Origination Agreement”) at pg. 2, Sec. 1.

       6.        Regarding loans originated by TERI as private label loans under the

names and charters of banks like Bank One’s loan to Plaintiff, TERI, at one time had

two loan databases derived from its loan guarantor duties:

                 a. TERI’s “Loan Database” containing unredacted information about

                     the loans, lenders, and borrowers, and;

                 b. A redacted version of that database called both the “Delivered

                     Database” and “Initial Loan Database”.1




1 The “‘Loan Database’ consists of any and all data now or hereafter obtained, generated, recorded, or otherwise

received by TERI in connection with its business as a loan guarantor, including without limitation, borrower data
such as credit scores and other credit information, loan payment histories and statistics, default and recovery data,
data regarding schools attended by borrowers and students whose education was financed with TERI-guaranteed
loans, and underwriting criteria. See Ex. E at p. 24, “Database Agreement” Article I, “Definitions.”


                                                         2
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 3 of 38




            See definition of terms in the June 2001 “Database Sale And

            Supplementation Agreement” hereinafter “Database Agreement”

            attached hereto as Ex. E)

      7.    The term “Loan Database” is defined in the June 2001 Database

Agreement among First Marblehead Education Resources, Inc. (“FMER”), TERI,

and First Marblehead Corporation (“FMC”) as follows:

      “Loan Database” consists of any and all data now or hereafter obtained,
      generated, recorded, or otherwise received by TERI in connection with
      its business as a loan guarantor, including, without limitation, borrower
      data such as credit scores and other credit information, loan payment
      histories and statistics, default and recovery data, data regarding
      schools attended by borrowers and students whose education was
      financed with TERI-guaranteed loans, and underwriting criteria.

Ex. E, “Database Agreement” at p. 2 Article I, “Definitions”.

      8.    The terms “Delivered Database” and “Initial Loan Database” are

defined in the Database Agreement as meaning the database created pursuant to

Sections 3.01 and 3.02 therein, in relevant part from Sec. 3.01 “INITIAL LOAN

DATABASE AND UPDATES” stating:

      TERI and/or its Outsource Provider will create a derivative work of the
      Loan Database as it exists on the Closing Date, by deleting therefrom all
      Excluded Data…referred to in this Agreement as the Delivered Database and
      its contents as the Initial Loan Database. … Each Update shall consist of all
      additions or modifications, other than Excluded Data, made to the Loan
      Database since the last previous delivery hereunder, and shall be added to and
      deemed a part of the Delivered Database. (emphasis added).

Id.

                                         3
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 4 of 38




      9. “Excluded Data” in the Database Agreement means:

       (a) the name of any borrower or obligor, (b) any unique identifier with
      respect to any borrower or obligor such as social security number or
      complete mailing address, (c) the identity of any lender with respect to
      any loan, and (d) any data of any type provided to or held by TERI with
      respect to loans originated by National City Bank.

Id.

      10.    Thus, TERI retained ownership of the unredacted Loan Database while

the First Marblehead entities had access only to the redacted “Delivered Database”/

“Initial Loan Database”.

      11.    Despite this contractual restriction on social security and other personal

identifier data being passed to FMER from TERI, the Trusts’ servicer, Pennsylvania

Higher Education Association (“PHEAA”) t/a American Education Services (“AES”)

testified through its corporate representative, Jennifer Wilbert (“Wilbert”), that it

received the social security information from FMER on behalf of TERI. Ex. F,

Wilbert Dep., 92:2 – 19.

      12.    Thereafter, in 2010 in regard to the foregoing loan databases, FMC,

FMER, and FMER’s wholly owned subsidiary, TERI Marketing Services, Inc.

(“TMSI”)2, engaged in adversary litigation with TERI in TERI’s bankruptcy wherein

the Court addressed TERI’s proprietary rights to restrict access to its data in its



2TMSI is described as FMER’s wholly owned subsidiary in the Marketing Services Agreement,
Ex. G.
                                            4
          Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 5 of 38




“Delivered Database” and “Loan Database” as described in the “Database

Agreement” and the effect of the 2008 Transitional Services Agreement (“TSA”) on

those rights, and held in relevant part the following:

         Importantly, the TSA also addressed the status of the Loan Database, as
         previously governed by the Database Agreement. Under the TSA, First
         Marblehead would retain perpetual rights to use of the Loan Database
         (in its redacted form), and would, in return for a fee to be paid by TERI,
         assist in rebuilding TERI’s copy of the Loan Database. TSA, § 2.1.

Ex. H, In re THE EDUCATION RESOURCES INSTITUTE, INC., 442 B.R. 20, 22
(D. Mass. E.D. 2010).

         13.      Regarding the “Database Agreement” referenced in the foregoing

opinion excerpt; the Court explained that it “…provided for, among other things, (1)

the transfer of a redacted version of TERI’s Loan Database to First Marblehead3 and

(2) continued updating of the Loan Database.” Id.

         14.      The adversary bankruptcy hearing transcript underlying the Court’s

foregoing opinion discusses TERI’s loss of its original database which then caused

it to rely on FMER’s redacted information to rebuild it and that TERI’s unredacted

Loan Database was not available to FMC/FMER. Hr’g Tr. 29:6-31:20 (Nov. 29,




3
  Note that the Court referred to “First Marblehead” as a collective term of First Marblehead Entities consisting of
FMC, FMER and First Marblehead Data Services, Inc. (“FMDS”). However, the “Master Servicing Agreement”
clarifies that FMC is prevented from the disclosure of Servicing Information to FMC, leaving FMC with only
information in the “Delivered Database.” (See the July 1, 2001 “Master Servicing Agreement” attached to Meyer’s
Declaration (Dkt No. 176-6) as Ex. 2 at pg. 24 “Sec. 11.14(c) Confidentiality and Restrictions on Use of
Information, Firewall”).

                                                          5
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 6 of 38




2010), ECF No. 1184. The relevant parts of the transcript in a dialogue between the

Court and FMC’s counsel Jenkins are as follows:

      MR. JENKINS: … TERI did retain its right to the, quote/unquote, “loan
      data base.” That was not transferred to the First Marblehead entities.
      The question obviously is, “Well, where did it go?” What happened was
      that TERI did not maintain its database. It was not stored anywhere
      that we’re aware of, nor did they state anywhere in their pleadings that
      it went to any particular place; but that was not what was sold to the
      First Marblehead entities.

             What was sold to the First Marblehead entities was the right to
      this delivered database, and what would be retained by TERI, this loan
      database, would remain subject to certain restrictions. So in essence,
      like a license -- an exclusive license right.

      THE COURT: And just so that I’m clear, the loan database is simply
      the unredacted delivered database.

      MR. JENKINS: I believe that is what it’s defined as, right.

      THE COURT: Okay. So it is the gross pile of information –

      MR. JENKINS: Right. It’s what TERI had before we
      entered into this agreement –

      THE COURT: Right.

      MR. JENKINS: -- and what it -- what it retained.

      THE COURT: Is what TERI had before it redacted.

      MR. JENKINS: Right, and sent over that delivered data base to First
      Marblehead.

      THE COURT: Right.

      Ex. I, 29:6 – 30:2 (emphasis added)

                                         6
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 7 of 38




      15.   Because FMER and FMC did not store or otherwise have full access to

the Loan Database from TERI, they allegedly added to the Delivered Database

redacted data information from unidentified and therefore unknown sources to fill

the missing information:


      MR. JENKINS: So after receiving the delivered database, the First
      Marblehead entities began using data from its own propri -- for its own
      proprietary and permitted uses. The First Marblehead entities also
      obtained data from other sources in other contexts, in other capacities
      unrelated to TERI, and much of its information overlapped with what
      eventually you would describe as the loan database.

             So in other words, First Marblehead on its own, had collected
      much of what TERI would call the loan database from other sources.
      For example, First Marblehead was the admin -- is the administrator for
      trusts holding somewhere around twelve billion dollars’ worth of
      student loans. That information First Marblehead had on its own, in no
      capacity related to TERI. So over time, the delivered database was built
      out, made more robust, and to that information that First Marblehead
      retained it added its own proprietary and permitted use information.

            So for years prior to the rejection of the Data Base Agreement,
      the First Marblehead entities as a service provider to TERI provided
      TERI with access to two of the First Marblehead entities’ proprietary
      data bases, known as the Guarantee System and the RMS System. So
      on a daily basis TERI could access these systems at First Marblehead
      and get access to its database information.

             Why it did not at some point realize it didn’t keep its loan
      database and take that information and rebuild it, we don’t know. But
      what is clear is that First Marblehead had no obligation to maintain,
      store the loan data base that was TERI’s, for it.

           So as we come to the petition date in the case, shortly thereafter
      TERI decides to reject what’s referred to as the FMC contracts, one of
      which was the Data Base Agreement. TERI had two problems though.
                                         7
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 8 of 38




       It needed the FMC entities to provide transition services so it could
       move some of those services to its own platform; and it needed FMC’s
       entities’ help to rebuild the loan database that it had not maintained.

       Ex. I, 30:8 – 31:20 (emphasis added)


       16.    In approximately 2001, TERI agreed to sell to FMER and FMC (a) the

“Delivered Database” and (b) virtually all of TERI’s loan-related and administrative

operations. (See Master Servicing Agreement between TERI and FMER/FMC (ECF

No. 176-6, Ex. 2 thereto). TERI also agreed to outsource TERI’s origination, staff

support, and other administrative functions exclusively to FMER to perform

origination, servicing, and other services for it.4

       17.    Notwithstanding the sale to FMER and FMC of its operations and of

the Delivered Database, TERI retained ownership of its Loan Database and the

Master Servicing Agreement restricted FMC’s access to only the redacted Delivered

Database and requiring FMER to refrain from disclosing Servicing Information to

FMC.5


4 2.01 FMER SERVICES. TERI hereby hires, designates and appoints FMER as its agent and
consultant to provide, and FMER hereby accepts such appointment and agrees to provide, all
origination services (including underwriting, documentation, technical support and disbursements),
customer service, collections, accounting services, guarantee claims management and
administrative services reasonably required to service the Programs including, without limitation,
the services described in EXHIBIT B attached hereto and made a part hereof (the "Services"). The
appointment includes a limited power to act as attorney-in-fact for purposes of prosecuting and
settling all collections of defaulted loans.
5 11.15 CONFIDENTIALITY AND RESTRICTIONS ON USE OF INFORMATION,
FIREWALL.
                                               8
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 9 of 38




       18.     The parties contemplated that FMC would use the data received from

the Delivered Database in the securitization of the loans into the Trusts. Ex. H

“Database Agreement” at Article II, Sec. 2.02 “FMER Restrictions.”

       19.     In the Motion, none of the Defendants or their three (3) affiants state

they are familiar with TERI’s record keeping practices. Ex. J, Deposition of TSI’s

Bradley Luke (“Luke Dep.”) 54:15 – 19; Deposition of FMC/Cognition’s Jens

Meyer (“Meyer Dep.”) Ex. K, 80:24 - 81: 17.

       20.     TERI’s Loan Database is lost and neither TERI nor anyone else kept or

maintained it. See e.g., Ex. I, 29:6 – 13.

       21.     Servicer AES admitted it did not receive TERI’s database or records in

statements made to consulting firm hired to perform a servicing review. See Ex. L,

Glanfield Dep. Exhibit 5 thereto, Boston Portfolio Advisors audit.


   C. DEFENDANTS HAVE NOT PRODUCED SCHEDULE 1                                   TO THE       POOL
      SUPPLEMENT

       22.     The Trust claims an interest in Gosse’s loan along with other loans



(c) FMER agrees to use all information it receives from TERI concerning Program loans and
borrowers including, without limitation, nonpublic personal information described in Section
11.15(b) and all Servicing Information, solely for purposes of providing the Services and not to
disclose the same to any Person except (i) as necessary to perform the Services, and (ii)only subject
to a confidentiality agreement. In particular and not by way of limitation, FMER shall establish
clear policies and procedures to prevent the disclosure of Servicing Information to FMC. Such
policies shall restrict disclosures to FMC solely to the Delivered Database as defined in the
Database Sale and Supplementation Agreement of even date herewith among TERI, FMER and
FMC. FMC agrees to be bound by the restrictions contained in this Section 11.15.

                                                 9
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 10 of 38




allegedly sold and transferred pursuant to the terms of a Pool Supplement between

JP Morgan Chase and National Collegiate Funding, LLC. See Ex. M.

      23.    The subject Pool Supplement states that the loans being sold and

conveyed were “set forth on the attached Schedule 1”. ECF 176-6, Meyer

Declaration, ¶ 7(a), Ex. 4.

      24.    Defendants have not produced any document with the term “schedule”

in it to describe the loans, including Plaintiff’s loan, that were allegedly sold and

transferred into the Defendant 2007-3 Trust 1.

      25.    Cognition Financial, f/k/a First Marblehead Corporation (“FMC”),

testified that an excel spreadsheet populated from its MS Access database systems

titled “Loan Sale Roster” serves as “Schedule 1” to the Pool Supplement for the

2007-3 Trust despite the term “schedule” being absent from the document. Ex. K,

Meyer Dep. 85:16 – 21 (the excel spreadsheet/ “Loan Sale Roster” is hereinafter

referred to as “the Roster”).

      26.    FMC’s prior affidavit in support of Defendants’ original Summary

Judgment Motion made no reference to any Defendant possessing a “schedule” or

“Schedule 1” to the Pool Supplement despite attaching the same spreadsheet as

what currently is the Roster. ECF 112-2.

      27.    TSI’s prior Luke affidavit from Defendants’ original Motion did not

identify as Schedule 1 the same Roster exhibit attached thereto. Instead, the affidavit

                                          10
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 11 of 38




described the Roster as a “printout accurately reflecting the information contained

in a digital Excel file maintained by TSI since the file was received from

Cognition on or about November 14, 2012.” See ECF 112-1 at ¶ 15.b.

      28.    TSI’s new affidavit from Luke attached to its renewed Motion now

describes the same Roster as “reflecting” Schedule 1. See ECF 176-6 at ¶ 13.

      29.    TSI’s Luke testified at deposition herein that he received computer

records of the Trusts’ acquisition of loans from FMER or FMC, Ex. J, Luke Dep.

68:1 - 11. Luke testified that FMER sent him computer records of many of the Trusts

months later in November 2012 via an FTP electronic link and a physical thumb

drive, Luke Dep. 69:4 - 12.

      30.    Luke previously testified in another National Trust Collegiate Trust

collection action in 2014 that:

             a. He received computer records of the Trusts’ acquisition of loans

                from an entity known as GSS Data Services, Inc. the administrator

                of the Trusts. See Ex. M, 35:8 – 37:19.

             b. He couldn’t affirmatively say in 2014 who created the records Ex.

                M, 36:2–7.

      31.    Defendant U.S. Bank testified that the Roster sent by FMER to TSI to

allegedly identifying loans owned by the 2007-3 Trust is not Schedule 1 insofar as:

             a. There is a Pool Supplement with a schedule attached that identifies

                                        11
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 12 of 38




                the loans that are sold to the NCF [National Collegiate Funding]

                entity and that under the deposit and sale agreement, those loans

                are then assigned to [Trust] 2007-3, P, Kaplan Dep. 90:2 - 90:15

             b. All of the information in Schedule 1 is not in the Roster, Ex. N,

                Kaplan Dep., 68:5-10.

             c. Not all of the information in Schedule 1 is in the Roster, rather

                FMC technicians excerpted data from Schedule 1 to create the

                Roster, Ex. N. Kaplan Dep. 69:22 - 70:11.

      32.    Defendant U.S. Bank also testified that, other than information told to

it by TSI, it otherwise has no knowledge of whether the Roster is one of the

spreadsheets created to show loans transferred to the Trusts as part of the closing of

the securitization of those trusts, Ex. N, Kaplan Dep. 73:2 – 78:5.

      33.    FMC testified that servicer PHEAA/AES’ records reflect which loans

are in any given Trust and that FMC’s MS Access Database information is simply

an historical “snapshot” of the loans allegedly sold to the Trusts based on a “roster”

of loan data FMC received from the servicer PHEAA/AES.

      34.    PHEAA/AES does not know how FMC assigned loans to the Trusts but

would change the owner’s name for loan in its system at FMC’s request. Ex. L,

Glanfield Dep. 12:01.

      35.    FMC’s Meyer testified the Loan Roster information is not in any

                                         12
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 13 of 38




original undisturbed state but is instead fungible allowing the data to be

supplemented by FMC for tracking purposes. Ex. K, Meyer Dep. 52:18 – 53:14.

      36.   Meyer also testified he is unfamiliar with servicer PHEAA/AES’

recordkeeping practices, including any practices involving preservation of the

original loan tapes from which the database is created. Ex. K, Meyer Dep. 29:1 - 22.

      37.   Although Meyer relies upon the servicer data in the loan tapes, he

admits the servicers do not have access to Schedules 1 and 2 from the Pool

Supplements. Ex. K, Meyer Dep. 40:22 – 41:3.

      38.   Luke does not have any knowledge of the record keeping systems of

the originating banks like JP Morgan, FMER, TERI, or GSS, Luke Dep. 53:18-23;

53:25 – 54:7; 54:15-19; 54:21 – 55:19; 63: 17 – 64:1; 65:13 – 65:18; 141:1 – 141:8.

   D. THERE IS A MATERIAL ISSUE OF FACTS AS TO WHETHER DEFENDANTS
      KNOW THEY ARE FILING COLLECTION LAWSUITS WITHOUT SUFFICIENT
      PROOF OF THE TRUSTS’ OWNERSHIP OF THE LOANS EVEN AFTER THE
      2017 CONSENT ORDER BETWEEN DEFENDANT TSI AND THE CFPB

      39.   Prior to filing the underlying collection action against Plaintiff attorney

Ratchford of Defendant Ratchford Law Group, P.C. (“RLG”) approximated that he

was involved in the filing of dozens of collection actions on behalf of the NCSLT

Trusts while at RLG and with prior law firms. Ex. O, RLG Dep. 17:9 – 18:8.

      40.   Ratchford filed the Gosse collection action attaching a Note Disclosure

and a Pool Supplement as Exhibits, RLG Dep. 17:4-8



                                         13
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 14 of 38




       41.      Ratchford filed other NCT actions using the same exhibit attachments

of a Note Disclosure and a Pool Supplement without any reference therein to the

defendant borrower’s loan. RLG Dep. 27:21 – 28:4.

       42.      Ratchford has tried hundreds if not thousands of collection actions

RLG Dep. 23:9 – 22.

       43.      Ratchford prosecutes collections action for various NCSLT trusts and

does so in a uniform manner without regard to which trust is involved. RLG Dep.

25:23 – 26:24.

       44.      Ratchford is not sure if he has ever seen or attached a Schedule I to

any Pool Agreement in connection with filing a collection action for an NCSLT

trust. RLG Dep. 31:5 - 21

       45.      In Plaintiff’s defense of the underlying collection action as the

defendant therein, Plaintiff attached a list of fourteen other lawsuits RLG had filed

against student loan borrowers whose loans an NCSLT Trust claimed to own. See

again Ex. B.

       46.      RLG testified regarding ten other NCSLT collection complaints it

filed that:

             a) All attached as exhibits thereto a Pool Supplement and a Note

                disclosure statement, RLG Dep. 27:7 – 28:4.




                                            14
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 15 of 38




            b) All of the Pool Supplement exhibits failed to refer to the defendant

               borrowers’ loan(s) in the collection lawsuits, RLG Dep. 46:9 – 15;

               48:24 – 49:5; 52:2 – 10; 57:23 – 58:3; 63:6 – 11; 69:1 – 7; 70:12 –

               71:3; 72:13 – 17; 76:3 – 9; 80:5 – 9; 81:6 - 22.

            c) All were defended by preliminary objections to the complaint for

               failure to show transfer of the debt or ownership of the debt, and

               therefore no capacity to sue by the trust. See again Ex. B.

            d) All of the preliminary objections were granted, and all the cases were

               dismissed by the state court without appeal. See again Ex. C

      47.      Ratchford testified regarding his understanding of the TSI consent

order with the CFPB to be that:

            a) TSI agreed to only pursue claims that they owned and were within the

               statute of limitations, RLG Dep. 96:13- 25.

            b) It was not his understanding that TSI was filing false affidavits in

               support of collection Complaints for the Trusts. RLG Dep. 109:5 – 10.

      48.      As a result of becoming aware of the Consent Order:

            a) He vaguely remembers investigating his existing NCT files but does

               not recall closing any of them as a result of his investigation. RLG

               Dep. 97:21 – 98:24.




                                           15
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 16 of 38




            b) He did not recall what changes if any he made with regards to

               bringing collection actions on behalf of the National Collegiate Loan

               Trusts. RLG Dep. 95:11 – 21.

   E. THERE IS A MATERIAL ISSUE FACT AS TO U.S. BANK’S ROLE AS SUCCESSOR
      SPECIAL SERVICER IN DEFENDANTS’ ONGOING CONSPIRACY TO FILE
      COLLECTION LAWSUITS WITHOUT SUFFICIENT PROOF OF THE TRUSTS’
      OWNERSHIP OF THE LOANS

      49.      While U.S. Bank testified it served a second role as successor special

servicer, Ex. N, Kaplan 11:15 - 11:17, it remains an issue of material fact actions

exactly US Bank performs in that role.

      50.      On the one hand it testified broadly it doesn't perform any special

servicing function pursuant to the terms of the Special Servicing Agreement (“SSA”),

16:22 - 17:04.

      51.      However, it then testified it “entered into a special subservicing

agreement with [Turnstile Capital Management] to perform certain activities related

to the special servicing for the 2007-3 [trust]”. Id. at 23:11 - 24:02.

      52.      When pressed further as to whether U.S. Bank assigned all of its

functions as successor special servicer to Turnstile, its counsel would not permit

answer in this regard. Id.

      53.      However, to confuse matters more, U.S. Bank also testified to

participating in a review of Defendant TSI's special servicing of the Trusts, Id. at

50:18 - 51:08.
                                           16
         Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 17 of 38




         54.   The only other insight into U.S. Bank’s special servicing role from

discovery herein was that its role is limited to covering delinquent or defaulted loans.

Id. at 35:21 - 36:03.

         55.   Attempting to gain insight into US Bank’s role as successor special

servicer from a different angle, Plaintiff queried US Bank regarding any payment

for services it may have rendered to the Trusts or entities related thereto. US Bank

admitted it was due a special servicing fee which it then declined and redirected fully

in a 62/38 percentage split to NCO and Turnstile Capital Management, LLC 14:12 -

15:05.

         56.   Asked further whether it had assigned all of its functions as successor

special servicer to Turnstile, US Bank was again forbidden to answer by counsel.

23:11 - 24:02.

               PLAINTIFF’S RESPONSE TO
 DEFENDANTS’ PROPOSED STATEMENT OF MATERIAL FACTS
         Pursuant to F.R.CP. 56, Plaintiff submits the following response to the

Proposed Statement of Material Facts in Support of the Renewed Summary

Judgment Motion of Defendants National Collegiate Student Loan Trust 2007-3

(the “Trust”), U.S. Bank National Association (“U.S. Bank”), Transworld Systems

Inc. (“TSI”), and Ratchford Law Group, P.C. (“Ratchford”), (collectively the

“Defendants”)(ECF 176):

          1. Admitted and denied.

                                          17
Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 18 of 38




  a. It is admitted that student loans were allegedly originated by TERI in

     the name of the participating national banks as alleged generally by

     FMC’s affiant Meyers in ¶ 4 of his affidavit/Declaration (ECF 176-1).

     There are no facts alleged to show that Meyer has personal knowledge

     for the statement made in the last sentence of ¶ 4. Any sales of specific

     loans were pursuant to the terms of a Pool Supplement that states the

     loans sold are identified on Schedule 1 to the Pool Supplement. See

     Ex. K, Meyer Declaration, ECF 176-6 at ¶ 7-8, 11(e), Ex. 5 thereto.

     The lack of Schedule 1 is discussed above and below. A state court

     has already ruled that the Defendant Trust lacked standing to pursue

     its underlying collection action against Ms. Gosse having failed to

     respond to Ms. Gosse’s preliminary objections to its complaint which

     objected to the Trust’s standing to sue her as owner of the subject loan.

     See Exhibit C, State Court judgment.

  b. The Defendants cannot show ownership of the loan through

     admissible evidence. The Pool Supplement stated that the loans being

     sold and conveyed were “set forth on the attached Schedule 1”. Ex. __

     at p.1. The issue has always been that the Defendants do not have

     Schedule 1 to the agreement and therefore cannot state which loan

     belongs to any particular trust, i.e., ECF 67 - Amended Complaint at

                                 18
Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 19 of 38




     ¶46 “The Pool Supplement attached to [the underlying Gosse

     collection complaint] does not include the Loan Schedule”. In

     Meyer’s affidavit in support of Defendants’ prior Summary Judgment

     Motion (ECF 112-1, hereinafter “the prior Motion”), he never made

     reference to any “schedule” at all much less that FMC had “Schedule

     1” to the subject Pool Supplement. Defendants’ new Meyer affidavit

     claims that FMC created and holds Schedule 1 while at the same time

     Meyer disclaims that FMC has any custodial status or obligation to

     maintain documents at all. See ECF 176-1, Meyer Declaration at ¶ 6.

     Putting aside the inconsistency with his prior affidavit omitting

     reference to any schedule and that FMC cannot attest to any chain of

     title from origination as the document’s custodian, a review of

     testimony concerning the document he now calls Schedule 1 shows

     that at most he testified that the same referenced Excel spreadsheet

     allegedly extracted from its MS Access database “serves as Schedule

     1”, not that it is Schedule 1. See Ex. K, Meyer Dep. 85:16-21.

     The document Meyer now describes as “Schedule 1” from FMC’s MS

     Access database is allegedly created from loan tapes allegedly

     received from the servicer, PHEAA. See Exhibit B, Meyer Dep. 74:16

     -75:6. Meyer describes the loan tapes as the sole source of the MS

                                19
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 20 of 38




            Access database, Ex. K, Meyer Dep. 37:5-8; 39:18 – 40:6; 52:18 –

            53:14. The loan tapes are not authenticated by anyone. Ex. K, Meyer

            Dep. 29:4 - 30:4; 31:13-19; 61:18 – 62:6. However, there is no effort

            to explain the loan tapes’ origin. Who created them? What systems

            were used to create them and when and why? Without these basic facts,

            the loan tapes and anything derived from them are not admissible as

            evidence since computer records are no different than any other

            records - they must be authenticated before they are admitted as

            evidence.

      2.    Denied. There has been no discovery conducted of the issues relating

to the program, any party’s role therein, or its purpose. The Defendants should not

be allowed to assert facts relating to any program or its purpose having been

granted by the Court their request to limit discovery to ownership. In any event,

this statement does not show the Defendant Trust owns the Plaintiff’s loan. The

state court found otherwise. See Ex. C.

      Moreover, FMC was not the party who originated the loans. The loan

documents relating to the origination were created and held by The Education

Resource, Inc. (TERI). TSI’s Bradley Luke in ¶ 9 of his prior affidavit at ECF

112-2 admitted this:

            The Education Resources Institute, Inc. (“TERI”) processed the
            Loan at origination, ensured the Loan was disbursed, and initially
                                          20
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 21 of 38




              maintained the loan records and documents that were created
              during the origination and disbursement process (the
              “Origination Records”).

Yet, TSI’s Luke testified that he was not familiar with the record keeping of

TERI6 while FMC’s representative Meyer testified to the same7. Therefore,

neither FMC nor TSI can authenticate the loan assignment documents nor can

they provide any testimony upon which this Court may find that the loan

assignment documents they present qualify for admission into evidence under

the business record exception to the hearsay rule.

       To the extent that the Court is concerned about the purpose of the loan

program, the purpose was to use a rent-a-charter scheme with national banks such

as Defendant US Bank to sell the pooled student loans to eventual securitized

bond investors. The details were set out in a summary:

6
 Luke Dep. 54:16-19 (“Q. Do you have any knowledge of the recordkeeping of TERI? MR.
SHARTLE: Object to the form. THE WITNESS: No, sir.”).
7
  Q. Okay. I just -- and then, my other question is, when we were discussing the
different participants, do you know what role the Education Resources, Inc. played
in this -- in these transaction… MR. HOMES: Objection. THE WITNESS: You
mean [TERI]? BY MR. BORISON: Q. Yeah. Yeah, I'm sorry, the formal name
is the Education Resources, yes, but you can call [it] [TERI]. A. Yeah, so it's my
understanding that [TERI] was the grantor on loans. Q. Did they play any role in the
recordkeeping, as far as you know? MR. ROTA: Objection. THE WITNESS: I
would not be a hundred percent sure in detail. But they -- they would be informed of the
loan securitizations and the transfer of ownerships since they are guaranteeing the loans.
BY MR. BORISON: Q. They would be provided information, but would they generate
any information or maintain any information, to your knowledge? MR. HOMES: Objection.
THE WITNESS: I would not know, since I -- I never worked for [TERI]. Meyer Dep.,
80:24-81:17.

                                              21
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 22 of 38




      Summary of Program Participants
      Program Lender: As program lender, [LENDER NAME] is an FDIC
      insured financial institution able to “export” the laws concerning
      interest rate and fees from the state where Lender is located to all 50
      states. [LENDER NAME] will sub-contract origination functions to
      TERI but will be the legal entity who approves credit criteria and
      makes program loans in accordance with TERI underwriting
      guidelines. [LENDER NAME] will provide initial loan funding and
      own the loans until they are purchased in a transaction organized by
      the Securitization Sponsor at agreed upon intervals.
      Program Origination Processing: TERI will provide the full
      complement of alternative student loan origination capabilities for
      [LENDER NAME]’s programs. These services include application
      processing, underwriting, loan documentation and disclosure, and
      loan disbursement processing. TERI may subcontract these services
      as provided in the Loan Origination Agreement.
      Program Guarantor: The Education Resources Institute, Inc. (TERI)
      will provide loan guarantee services on behalf of the Lender during
      the loan holding period and then to the Securitization Sponsor from
      the point of purchase forward. As guarantor, TERI approves the
      program’s underwriting guidelines.
      Program Servicer: The Servicer, [Pennsylvania Higher Education
      Assistance Agency (PHEAA)] is responsible for performing loan
      servicing and administration services over the life of the loan. The
      Servicer maintains loan servicing procedures in accordance with the
      loan program guidelines.
See Ex. ___.
                                        22
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 23 of 38




      3.      Admitted and denied.

      a. It is admitted that the loans sold under that Agreement were to be

           identified on a Schedule 1.

      b. It is denied that defendants have provided Schedule 1 that identifies

           which loans were actually sold to the Trusts including the Defendant

           Trust herein. While at first blush the testimony offered by Meyer

           suggests that FMC had the original Schedule 1 in its possession, his full

           testimony shows that the document he claims is Schedule 1 is actually

           just a second or later generation excel spreadsheet which, as previously

           discussed herein above, FMC titled, “roster”, and which FMC extracted

           from a MS Access Database that FMC populated from “Loan Tapes”

           provided to it by PHEAA/AES. Meyer’s deposition testimony also

           confirms that the document he claims is Schedule 1 only “serves as”

           rather than constitutes Schedule 1. See Meyer Dep. 85:16-21.

      Nor has it been shown that the Roster derives from the actual original source,

the TERI database. Instead, Meyer testified that the MS Access Database

information is not a history of the loan information but simply a “point in time

reflection” of the loans allegedly sold to the Trusts as a “roster” of loan data FMC

received from the servicer PHEAA/AES with whose recordkeeping practices he is

unfamiliar. Meyer Dep. 29:4 - 30:4; 61:18 – 62:6. Yet, in circular fashion PHEAA’s
                                         23
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 24 of 38




representative testified that the source of any loan information it had was FMC, See

again ECF 176-4 at ¶ 12. PHEAA also stated to Boston Portfolio Advisers that it

did not have information relating to assignments of the loans8.

       Finally, neither PHEAA’s loan data nor FMC’s MS Access Database

information is in any original undisturbed state. Instead, FMC admits that its excel

spreadsheet database of loans merely “serves as” the schedule that were sold to the

trust, not that it is the original source data from a traceable historical chain from

origin to FMC’s systems or PHEAA’s systems9. Also, FMC admits its secondhand

spreadsheet data has no historical information regarding its origin10. Indeed, Meyer

8
  Ex. N, Glanfield Dep. 11:18 - 012:19 (“Q. So there's a statement, "PHEAA is not aware of the
criteria FMC used for assigning a batch of loans to any given trust, except the general knowledge
that FMC was able to package loans and appeal to investors." Correct? A. That was our
understanding, yes. Q. Right. And that was an understanding that you reached based on your
interviews with PHEAA; correct? A. That's correct.”).
9
  Ex. M, Meyer Dep. 37:5-8 (“A. …we do have the MS Access Database that serves as, essentially,
the initial roster of the loans that were sold into the trust.”)(emphasis added). Ex. M, Meyer Dep.
85:16 – 21. (“Q. Okay. Is it, Exhibit 3, Cognition-Gosse-002, the document you referred to earlier,
as Schedule I to the Pool Supplement? A.· Yes, it would serve as Schedule I to the Pool
Supplement.”) See also: Ex. M, Meyer Dep. 31:13-19 (“Q. …do you have any knowledge of who
created the information that was placed into the loan tapes? A.· That would be the system
processes at the loan servicer, and that would have been employees of the loan servicer that would
service the loans”). Further: Ex. M, Meyer Dep. 40:13 – 41:10. (“A. … you could go to a system
of records and ask for data extract from the system of records at the loan level to create a loan
roster of loans that were sold into the trust. Q.· And when you say system of records, what does
that mean? A.·That would be the loan servicing system. Q. Okay. Did the loan servicers have
Schedule I or Schedule II, to your knowledge? A. Not to my knowledge. Q. Would you know if
they did have those documents? A. I would not necessarily know if they have those documents.
Q.·Who would know? A.·The loan servicer.”).
10 Ex. M, Meyer Dep. 39:18 – 40:6. (“Q. And so, these Excel spreadsheets, are they based on

information taken from the MS Access Database we've been discussing? A.·That's correct. Q.·Is
there any other source for that information? A.· It could be recreated on the loan data tapes,
directly. Q.· ·But the loan data tapes is the same information that's already populating in your MS
                                               24
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 25 of 38




admits he did not consult the Pool Supplements directly for loan information prior

to his deposition testimony, Meyer Dep. 38:15-22. He did not do so because he

admits further that what he understands to be “Schedule I” to the Trust’s Pool

Supplement was always merely electronic data disconnected from any paper data

like the Pool Supplement itself 11.

        However, FMC believes PHEAA has the original loan ownership data

although it does not and believes it despite FMC not knowing anything about

PHEAA’s recordkeeping practices 12 . Finally, FMC admits its data can be and is

supplemented or changed thereby further undermining its trustworthiness as an




Access Database, correct? A.·That's correct.”). Also see: Ex. M, Meyer Dep. 61:18 – 62:6.
(“Q.· · ·So, if the loan tapes do not contain the metadata, you do not know the history of the
information contained in the loan tapes, correct? A. There is no history in the loan tapes. The loan
tape is a standardized data abstract from the system of records. It’s a point in time reflection of the
data as it was extracted out of the system of record, as such, it does not have history.”)
11 Ex. M, Meyer Dep. 95:4-24. (“Q. You said that you were told about information, who told you?

A.·That would be multiple people at the company. Q.·Do you have any names? A.·Uhm, I would
not be able to recall the names, but it was discussions in the ordinary course of business. MR.
BORISON:·Okay. That’s all. MR. ROTA:·Scott, I just want to make sure we're all clear. … the
question you just asked referred to Mr. Meyer's testimony regarding why the Schedule I … was a
separate file and not incorporated into the document itself; is that right?
MR. BORISON:·That's correct.”).
12
   Ex. M, Meyer Dep. 29:4 - 30:4. (“Q. … are you familiar with the recordkeeping of any of the
servicers that sent you loan ·tapes? A.· ·Can you clarify what you mean with the
recordkeeping?· Meaning whether they preserved the loan tapes they sent to us or the internal
recordkeeping of their own internal systems? Q.· · ·Well, we know they preserved the loan tape
they sent to you because you got data off of them, correct? A.· I do not know if -- the servicers
preserved the loan tape itself, if they sent it to us. Because it's just a data extract as part of a data
exchange between the loan servicer and us. Q. … are you familiar with any of the servicers’
internal recordkeeping? A. No, no, I am not.”)

                                                  25
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 26 of 38




original loan data source 13. PHEAA admits the same fungible nature of the data in

its loan ownership database.14

       4.      Denied. Until Plaintiff can show that Plaintiff’s loan was transferred to

the Defendant Trust, any program under which Plaintiff’s loan was allegedly

originated is irrelevant for purposes of determining the Motion herein.

       5.      Admitted. Gosse has never disputed having received a loan. The

Defendants have only presented a single page of this loan document, not the

complete document. The single page states there are “four (4) pages of this Loan

Request/Credit Agreement”. The single page provided shows that the Plaintiff was

charged a 7.5% origination fee. The issue here is whether the Defendant Trust owns

her loan. This single page of a four-page document does not show that the Defendant

Trust owns Gosse’s loan.


13
   Ex. M, Meyer Dep. 52:18 – 53:14 (“A. … the database are sourced from the loan data tapes.
We add additional attributes to the records… if I get one hundred loans in a data tape from the
loan servicer, then my database for that data tape would contain one hundred loans, but I may have
an additional data element that is a unique identifier of the individual loan record. It may have a
date column that specifies when that loan record was loaded into the database, and it may contain
additional enhancements that we do in order to better carry the data, aggregate the data, group the
data, but the core attributes are coming from the loan data tape would not be touched”)(emphasis
added). See also: Ex. M, Meyer Dep. 77:12 – 78:4. (“Q. Okay. And your testimony is that you
looked at Schedule I, which you considered to be the document you referenced ·at 10A, correct?
A.· Yes. Q. Is that document - is it labeled Schedule I on that? A.· No, it is not labeled Schedule
I. Q. Why not? A. Because we use a different naming convention for these Excel spreadsheets.
Q. But the Pool Supplements use the term Schedule I, correct?”).
14
  Ex. N, Glanfield BPA Dep. 12:11-19 (“Q. And the same for the next sentence, which said,
"PHEAA would change the owner on its system upon notification from FMC"; correct? A. That's
what we have, yes. Correct. Q. Right. And that would have been based on information you
obtained from PHEAA? A. Correct.”)

                                                26
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 27 of 38




      6.     Denied to the extent that the Defendants claim that, because a single

page of a four-page document identified a particular loan program, that means the

loan was covered by the referenced Pool Supplement. As stated above, the loans

covered by the Pool Supplement are those identified in Schedule1 which Defendants

have not produced. These arguments are also estopped and barred by the state court

ruling against the Defendant Trust herein.

      7.     Denied to the extent that the Defendants claim that because a single

page of a four-page document identified the term “full deferment” that it somehow

means the loan was covered by the referenced Pool Supplement. As stated above the

loans covered by the Pool Supplement are those identified in Schedule 1 which

Defendants have not produced. These arguments are also estopped and barred by

the state court ruling against the Defendant Trust herein.

      8.     Denied to the extent that the Defendants claim that the loan having been

disbursed to Plaintiff means the loan was somehow covered by the referenced Pool

Supplement as a transfer or assignment to the Defendant Trust. As stated above, the

loans covered by the Pool Supplement are those identified in Schedule 1 which

Defendants have not produced. These arguments are also estopped and barred by the

state court ruling against the Defendant Trust herein. See Order attached as Ex. C.

      9.     Denied to the extent that the Defendants claim that since PHEAA

serviced the loan for JP Morgan Chase that means the Plaintiff’s loan was covered

                                         27
         Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 28 of 38




by the referenced Pool Supplement or that PHEAA has any knowledge about JP

Morgan Chase and how they kept and maintained documents for the Trust. testified

that PHEAA has no knowledge as to the accuracy of organization documents or data.

Ex. F, Wilbert Dep., 142:13 – 20; 143:4 – 23. As stated above the loans covered by

the Pool Supplement are those identified in Schedule 1 which Defendants have not

produced. These arguments are also barred by the state court ruling against the

Defendant Trust herein. See Order attached as Ex. C.

         10.    Denied to the extent that the Defendants claim that the signature

indicates the document is “fully executed” when Defendants have not provided the

complete agreement. Further, the delivery of one page of four pages to PHEAA does

not mean the Plaintiff’s loan was covered by the referenced Pool Supplement. As

stated above, the loans covered by the Pool Supplement are those identified in

Schedule 1 which Defendants have not produced. PHEAA also testified that PHEAA

has no knowledge as to the accuracy of organization documents or data. Ex. F,

Wilbert Dep., 143:4 – 23. These arguments are also barred by the state court ruling

against the Defendant Trust herein. See Order attached as Ex. C.

         Further, Defendants rely on the revised declaration of Meyer to describe the

role of FMC’s subsidiary affiliated entity, FMER, in transfer of loans to the Trusts,

but Meyer testified FMER played no role15.


15
     Ex. M, Meyer Dep. 56:5-18. (“Q. And the information -- so, we talked about role of First
                                              28
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 29 of 38




       11.     PHEAA servicing of Plaintiff’s loan and possession of one page of a

four page Note Disclosure Statement document does not show the Defendant Trust

owned Plaintiff’s loan. The loans covered by the Pool Supplement were identified in

Schedule 1 and that document has not been produced as discussed above. The

arguments are also barred by the state court ruling against the Defendant Trust herein.

See Order attached as Ex. C.

       12.     Denied to the extent that Defendants rely on this allegation to claim that

Plaintiff’s loan was covered by the Pool Supplement. The loans covered by the Pool

Supplement were identified in Schedule 1 and that document has not been produced

as discussed above. These arguments are also barred by the state court ruling against

the Defendant Trust herein. See Order attached as Ex. C.

       13.     Denied. The loans covered by the Pool Supplement were identified in

Schedule 1 and that document has not been produced as discussed above. The

arguments are also barred by the state court ruling against the Defendant Trust herein.

See Order attached as Ex. Ex. C.

       14.     Denied. The loans covered by the Pool Supplement were identified in

Schedule 1 and that document has not been produced as discussed above.


Marblehead Data Services, the National Collegiate Loan Funding, LLC, what about -- what was
the role, if any, of The First Marblehead Education Resources, Inc., in these transactions? MR.
HOMES: Objection. THE WITNESS: It wouldn't – as far as I know, they would not have a role
in the transaction itself, outside of providing default prevention services on the loans that are being
sold from the loan owner or lender to the trust. “)

                                                 29
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 30 of 38




      15.    Admitted that there may be other Pool Supplements, but the mere

existence of other Pool Supplements does not show Plaintiff’s loan was covered by

any particular Pool Supplement. The loans covered by the Pool Supplement at issue

herein were identified in Schedule 1 and that document has not been produced as

discussed above.

      16.    There has been no discovery conducted of the issues relating to the

corporate relationship between these entities. The Defendants should not be

allowed to assert facts relating to any program or its purpose having been granted

by the Court their request to limit discovery to ownership. In any event, this

statement does not show the Defendant Trust owns the Plaintiff’s loan. The state

court found otherwise. See Ex. C.

      17.    Admitted that the loans covered by the Pool Supplement are set forth

in a Schedule 1. Denied to the extent that the Defendants claim to have produced

Schedule 1 to the Pool Supplement, but have not done so and have no credible factual

to assert this for the reasons set forth above. CSMF

      18.    Denied. The testimony provided by Meyer is that he produced excel

spreadsheets from a MS Access Database that was populated by “loan tapes”. See

CSMF herein. The contention is also contradicted by Luke’s prior testimony that it

was TERI’s role to originate the loans. See ECF 112-1 at ¶ 9. It is also inconsistent

with the terms of the Loan Database Agreement that identified TERI as the holder

                                         30
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 31 of 38




of the unredacted loan information and only provided for FMER to receive a

“delivered database” of the loans. See again Ex. H.

      19.   Denied. See CSMF . Also, the Pool Supplement does not describe

Schedule I as an electronically formatted rather than a paper document attachment.

Thus, Meyer testified that the roster excel spreadsheet which Movant is referring to

herein “would serve as Schedule 1”, i.e., it is not actually Schedule 1 to the Pool

Supplement agreement. Ex. K, Meyer Dep. 85:16-21. In fact, none of the affiants

who submitted declarations in support of Defendants’ Motions and who were

deposed herein by Plaintiff can attest that the FMC or PHEAA loan “roster”

information even accurately captures the information in the original loan tapes from

which FMC says the loan roster was allegedly derived. In fact, US Bank testified it

could not do so per US Bank, CSMF 31(b) and (c). The original loan tapes have

never been produced much less authenticated. Moreover, the Defendants have

offered conflicting testimony concerning the source of these loan tapes. FMC

testified that it received the loan tapes from the servicer, PHEAA. See Meyer Dep.

40:22 – 41:3CSMF explaining that FMC’s MS Access Database was populated from

loan tapes it received from the servicers. PHEAA testified “When a pool of Loans

was sold, PHEAA received from First Marblehead Corporation electronic data

identifying all of the Loans serviced by PHEAA that were subject to the particular

sale to the National Collegiate Student Loan Trust entity. been produced.” See ECF

                                        31
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 32 of 38




176-4 at ¶ 12. Absent from PHEAA’s affidavit is any claim that the electronic data it

received is Schedule 1 to the Pool Supplement. Thus, in circular fashion FMC and

PHEAA claim the loan tape information came from the other.

      20.    Denied. See responses to 1, 2, 3, 18 and 19.

      21.    Denied. See responses to 1, 2, 3, 18 and 19.

      22.    Admitted and denied.

                   a. Admitted that the loans covered by the Pool Supplement are

                      set forth on Schedule 1 to the Pool Supplement.

                   b. Denied to the extent that the Defendants claim to have

                      produced Schedule 1 to the Pool Supplement for the reasons

                      set forth above in response to Nos. 1, 2, 3, 18 and 19.

      23.     Denied. The database was populated from information included in loan

tapes. Meyer testified that he received the loan tapes from the servicer, PHEAA.

      24.     Denied to the extent that it is claimed that the loan tapes were part of

the origination of the loans. There is no record evidence that is true.

      25.     Denied. Meyer testified the excel spreadsheets were produced from the

MS Access Database that was populated from the loan tapes. CSMF Meyers Dep.,

87:8 – 15; See also Ex. __ (“Cognition-Gosse-001” and Ex. 2 to Meyer Dep.).

      26.    Denied. This statement does not show the Defendant Trust owns the

Plaintiff’s loan. The only source for loans covered by the Pool Supplement is the

                                          32
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 33 of 38




Schedule 1 that Defendants have not produced. To the extent that the Defendants

contend this shows ownership of Plaintiff’s loan by the Defendant Trust, the state

court found otherwise. See Ex. C. Additionally, nowhere in the Meyers Decl., ECF

176-6, ¶ 8 does he attest that the “Roster” attached as Exhibit A-5 to his Declaration

is the “Roster tab” of Schedule 1 of the Pool Supplement. See ECF 176-6 at ¶ 26,

n. 5.

        27.   Denied. The referenced ¶ 13 of the “Trust Receipt” does not refer to

Plaintiff’s loan. To the extent that PHEAA is claiming to state in its Declaration facts

based on information from a notice that it received from an unidentified third party,

it is inadmissible hearsay. Ex. F, Wilbert Dep., 62:9 – 19. PHEAA also testified it

had no obligation to verify the accuracy of any information provided to it.

Defendants’ reliance on the testimony of Wilbert in her affidavit is misplaced. Ms.

Wilbert’s testimony is about what documents unattached to the Pool Supplement say

and/or what PHEAA’s COMPASS servicing system “reflects” or “shows.” In other

words, Ms. Wilbert is testifying about the information she can see on her computer

screen, without providing the Court and the parties with copies of those documents

or screenshots. See, e.g., ECF 112-3, Wilbert Decl. at ¶¶ 21-24. (“PHEAA’s

COMPASS servicing system shows that PHEAA began servicing Plaintiff Chelsey

A. Gosse’s JP Morgan Chase Bank, N.A. loan on August 8, 2007 …”); ¶ 21. This is

the classic definition of inadmissible hearsay. Fed. R. Evid. 801, 802.

                                          33
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 34 of 38




      28.    Admitted. The payment was not to the Defendant Trust.

      29.    Denied. The only document identified as being held by PHEAA is a

single page of a credit agreement and the disclosure statement. The “terms and

conditions” of the loans, proof of amounts disbursed or copies of cashed “checks”

that prove the loans disbursed to borrowers, and other origination documents either

do not exist or were not provided to PHEAA for the Gosse loan. Ex. F, Wilbert Dep.

49:25 – 50:20; 52:13 – 53:6; 59:5 – 15; 61:11 – 19. PHEAA testified it had no

obligation to verify the accuracy of any information provided to it and they have any

documentation or procedures about the file transfer for the documents passed to them.

Ex. F, Wilbert Dep. 54:2 – 17; 61: 4 – 9; 62:9 – 19; 143:11 – 23; 62:21 – 63:15.

      30.    – 31. Denied to the extent that the alleged statements show that the

Defendant Trust owns the Plaintiff’s loan. PHEAA testified it had no obligation to

verify the accuracy of any information provided to it despite her acknowledgment

that PHEAA has a contractual obligation to service the loans accurately and they

have no procedures regarding the transfer of loan documents. PHEAA testified it

had no obligation to verify the accuracy of any information provided to it, Ex. F,

Wilbert Dep., 36:12 – 37:2; 40:8-23; 62:16 – 19 62:21—63:15. Therefore, any

information provided to US Bank by it is not verified and hearsay.

      32.    Denied. As explained throughout herein and previously, the source for

loans covered by the Pool Supplement is Schedule 1. Neither referenced document

                                         34
        Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 35 of 38




is Schedule 1. Mr. Luke has no personal knowledge of any documentary proof of

loan transfers or assignments to the Trusts16. Instead, he merely relies upon what

was told to him orally by someone from FMER for his belief that loans like

Plaintiff’s were transferred to the Trusts.17

       33.     – 39. Admitted. It does not prove the Defendant Trust owns the loan.

       40.     – 42. Denied. Any records provided to NCO to collect on defaulted

loans, including by litigation, are hearsay upon hearsay because they are not records

of the Schedule 1 list of loans for the Pool Supplement for the Defendant Trust herein.

Ex. J, Luke Dep., 98:11 – 19. Additionally, PHEAA did not provide TSI with any

training or information that would support any claim that they are a valid “custodian”

to the Trusts. Ex. F. Wilbert Dep., 75:24 – 77:9; 78:12 – 79:2; 80:11 – 82:6.

Therefore, these record documents are not business records. It is otherwise denied

that possession of the Deposit and Sale Agreement proves the Defendant Trust owns

Plaintiff’s loan.

       43.     Denied to the extent that it is claimed that the excel spreadsheets are


16 Q. And any knowledge you have about the trust prior to 2010 is because of information that
was conveyed to you by others; correct? MR. SHARTLE: Object to the form. THE WITNESS:
Yes, sir, that's accurate. Luke Dep. 112:12 – 18.
17 Ex. L, Luke Dep., 45:20 – 46:11. (“THE WITNESS: First Marblehead used information that

was received from the servicers for the individual loans to acquire such things as the account
balances as of a certain date. So they used the servicer's information to create these loan rosters to
put together the list of loans that were to be sold. BY MR. BORISON: Q. And how do you know
that? A.·This is from conversations and training with First Marblehead. Q.· Is that your only source
of knowledge? MR. WEBER:·Object to the form. THE WITNESS:·I believe so.”)

                                                 35
       Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 36 of 38




Schedule 1 for the reasons set forth in answer to paragraphs nos. 1, 2, 3, 18 and 19

herein. There is no existing Schedule 1.

       44.    – 46. Admitted but it does not prove the Defendant Trust owns

Plaintiff’s loan.

       47.    Denied. TSI did not “service” the loan. Its role was to facilitate

collection of the loan through its Collection Network and initiate litigation through

its Attorney Network of which Defendant Ratchford is a member firm who had no

access to the full “rosters” that are claimed to be Schedule 1, only an excerpt used

for litigation. Ex. J, Luke Dep., 24:5 – 14; 26:7 - 13; 3 92:14 – 93:1; 98:11 – 19;

101:18 – 25; 102:2 – 22; 105; 21 - 6.

       48.    – 50. Admitted but it does not prove the Defendant Trust owns

Plaintiff’s loan.

       51.    – 53. Admitted. The state court held that the Defendant Trust lacked

standing to sue her.

       54.    Denied. Any Amended Complaint by the Defendant Trust against

Gosse was never filed with the state court and therefore does not change the Court’s

holding that the Defendant Trust lacked standing to sue her. Additionally, since the

documents attached to the Complaint did not include the “Schedule 1” list of loans

for the subject Pool Supplement, the Defendant Trust did not include in its proposed

Amended Complaint any documents proving the Trust’s ownership of the Loan.

                                           36
      Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 37 of 38




      57.    Denied. Ratchford had documents but none of the documents proved

that the Defendant Trust owned Plaintiff’s loan as discussed in ¶¶ 51 - 53 above.

      58.    – 57. Admitted but it was never filed with the state court and did not

therefore change the state court’s holding that the Defendant Trust lacked standing

to sue her. In any event there was no appeal of the state court’s order.

      58.    Admitted.

Date: May 15, 2023               Respectfully submitted,

                                 /s/Robert P. Cocco
                                 Robert P. Cocco, Esq.
                                 Robert P. Cocco, P.C.
                                 Attorney I.D. No. 61907
                                 1500 Walnut St., Ste. 900
                                 Philadelphia, PA 19102
                                 (215) 351-0200
                                 bob.cocco@phillyconsumerlaw.com
                                 Christina L Henry, Esq.
                                 Henry & DeGraaff, P.S.
                                 787 Maynard Ave S
                                 Seattle, Washington, 98104
                                 Tel 206/330-0595
                                 Fax 206-400-7609
                                 chenry@HDM-legal.com
                                 Admitted Pro Hac Vice

                                 Scott C. Borison, Esq.
                                 1900 S. Norfolk St. Suite 350
                                 San Mateo CA 94403
                                 Scott@borisonfirm.com
                                 301-620-1016
                                 Fax (301) 620-1018
                                 Admitted Pro Hac Vice

                                          37
Case 3:20-cv-01446-JKM Document 180 Filed 05/15/23 Page 38 of 38




                       Counsel for Plaintiff and the Class




                               38
